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                         IN THE UNITED STATES DISTRICT COURT FOR THE
                                 EASTERN DISTRICT OF VIRGINIA
                                     ALEXANDRIA DIVISION


   AMAZON.COM, INC and AMAZON                         )
   DATA SERVICES, INC.,                               )              Case No. 1:20cv484
                                                      )
                Plaintiffs,                           )           Hon. Rossie D. Alston, Jr.
                                                      )             Hon. Ivan D. Davis
   v.                                                 )
                                                      )
   WDC HOLDINGS LLC d/b/a                             )
   NORTHSTAR COMMERCIAL                               )
   PARTNERS, et al.,                                  )
                                                      )
                Defendants,
                                                      )    DEFENDANTS CARLETON NELSON
   ____________________________________               )    AND CHESHIRE VENTURES, LLC’S
                                                      )   MOTION FOR SUMMARY JUDGMENT
   800 HOYT LLC,                                      )
                                                      )
                Intervening Interpleader Plaintiff,   )
                                                      )
   v.                                                 )
                                                      )
   BRIAN WATSON, et al.                               )
                                                      )
                Interpleader Defendants.              )
                                                      )

            COME NOW Defendants Carleton Nelson and Cheshire Ventures, LLC through

  undersigned counsel, and move, pursuant to Fed. R. Civ. P. 56 and Local Rule 56 for summary

  judgment on Amazon’s claims against them, primarily as follows:

            (1) Count I (RICO), for lack of ability to demonstrate actual damages;

            (2) Count III (Fraud), (a) on all transactions due to Amazon’s failure to establish actual

  damages proximately caused by Nelson’s conduct; (b) on the Blueridge Transaction and IAD175

  Lease Transaction for the additional reasons that (i) Amazon cannot identify a material

  misrepresentation or omission by Nelson related to either of those transactions; and (ii) Amazon




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  cannot have reasonably relied on any alleged material misrepresentation or omission when it was

  on notice of the issues it raised in this action and nevertheless proceeded to close both transactions

  after it began its “immediate and extensive internal investigation”; (c) any late made claim

  regarding the KBC rebates because they should be procedurally barred, because Amazon cannot

  identify any conduct by Nelson relating to those rebates that would support a fraud claim, and

  because Amazon refused the payments when offered by KBC, failing its duty to mitigate;

            (3) Count V (Civil Conspiracy), because the necessary predicate claims fails;

            (4) Count VI (Breach of Contract), because (a) there is no breach of a duty imposed by the

  only contract between Nelson and Amazon, his noncompete / nondisclsore agreement, and (b)

  Amazon has failed to come forward with any evidence it has suffered any damages; and

            (5) Counts VII and VIII (Unjust Enrichment and Conversion), because Amazon has failed

  to establish (much less even allege) it lacks an adequate remedy at law to trigger the availability

  of the equitable relief it seeks in those Counts.

            There are no genuine issues of material fact as to the specific issues raised by Nelson and

  Cheshire Ventures, and they are entitled to judgment as a matter of law.

            In support of this motion, the Nelson Defendants submit their brief in support of the motion,

  the Declarations of Carleton Nelson and Adam Smart, the exhibits thereto, and rely on all

  admissible matters of record. The Nelson Defendants also rely on the arguments of the other

  Defendants in the action, to the extent their arguments are relevant to the claims asserted against

  them, including those identified above as well as Count II (Detinue), because the Nelson

  Defendants did not want to make simply a duplicative argument in that regard.




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            January 11, 2023                     BURR & FORMAN LLP

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                                                 Attorneys for Carleton Nelson and Cheshire
                                                 Ventures

                                      CERTIFICATE OF SERVICE

            I hereby certify that on January 11, 2023, a true and correct copy of the foregoing has been

  served upon all parties of record via the ECF system and via email



            Dated: January 11, 2023                       /s/ Rachel Friedman
                                                          Rachel Friedman




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